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VIA ECF                                                                         January 15, 2024
Honorable Yvonne Gonzalez Rogers
U.S.D.C., Northern District of California
Oakland Courthouse
1301 Clay Street, Courtroom 1, 4th Fl.
Oakland, CA 94612

         In Re: Social Media Adolescent Addiction/Pers. Inj. Prod. Liab. Litig., 4:22-md-03047-YGR:
         Plaintiffs’ Opposition to Request to “Prioritize” General Causation

Dear Judge Gonzalez Rogers:
      In accordance with CMO 7, Plaintiffs respectfully submit this letter brief in opposition to
Defendants’ proposal to “prioritize” discovery and Daubert motions on general causation.
        Discovery in this MDL is open.1 The same is true in the JCCP, which is looking to the MDL to
ensure timely completion of discovery on all common issues. Phasing discovery is not the norm and
“prioritizing” general causation issues makes no sense here. Instead, Defendants’ proposal threatens to
bog the parties down in disputes over what is to be “prioritized” and how. Moreover, front-loading general
causation issues in the MDL could unnecessarily complicate coordination with the JCCP, where Judge
Kuhl expressed skepticism of any isolated, early resolution of general causation issues.
       The more efficient and useful path forward is the tried-and-true process used in countless MDLs,2
which is to proceed with all common discovery without artificial sequencing or structuring, and then use
bellwether cases to tee up and test the sufficiency of the evidence (including any Daubert challenges) in
the context of real-world facts and with the benefit of a complete discovery record.
         1. Prioritization of Individual Issues Is Not the Norm and Leads to Inefficiency
        Discovery and pretrial scheduling issues are guided by two main concerns: efficiency and fairness.
Spectra-Physics Lasers, Inc. v. Uniphase Corp., 144 F.R.D. 99, 101 (N.D. Cal. 1992) (party requesting
phasing must show it “will promote judicial economy or that no party will be prejudiced”). Frontloading
one or more issues, as Defendants propose, is “not the norm” and “seldom results in efficient case
management.” Dean v. Pfizer, Inc., 2020 WL 12032895, at *2 (S.D. Ind. Dec. 9, 2020) (denying request
to bifurcate general causation issues in drug product liability case).
        Attempts to structure discovery by issue raise “myriad disputes whether certain information, search
terms, interrogatories, or deposition questions are sufficiently relevant to one [issue] and not the other.”



1
    Ex. A (Tr. 11/16/23 CMC) at 70:14-70:16.
2
 E.g., In re Vioxx Prod. Liab. Litig. (MDL 1657), 2012 WL 6045910, at *2 (E.D. La. Dec. 4, 2012) (after
“reasonable period for discovery,” first bellwether case tried less within year of MDL formation); In re
Proton-Pump Inhibitor Prod. Liab. Litig., No. 2:17-md-2789 (D.N.J. May 18, 2018), ECF No. 209
(denying motion to consider general causation before fact discovery in individual cases) (Ex. B); In re
Hair Relaxer Mktg. Sales Pract. and Prod. Liab. Litig., No. 1:23-cv-00818 (N.D. Ill. July 27, 2023) ECF
No. 146 (denying request to prioritize general causation discovery; ordering “traditional fact discovery”)
& ECF No. 168 (ordering single deadline for generic and case-specific discovery) (Ex. C).
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Dean, 2020 WL 12032895, at *3.3 The inefficiencies are particularly great “where discovery cannot be so
neatly divided among issues” or “where discovery is expected to be wide-ranging and arduous no matter
if the parties attempt to focus on only one alleged discrete issue first.” Dean, 2020 WL 12032985, at *3.
        Similarly, pre-discovery speculation that a plaintiff ultimately may not carry their burden on an
issue exists in virtually any case. It does not justify interfering with the ordinary course of discovery. See
Gonzalez., 2007 WL 661914, at *2 (claim “that much of plaintiffs’ case might fall away” after Daubert
was mere speculation; it is “preferable to allow fact and expert discovery to proceed on all issues”)
(emphasis in original). As Judge Kennelly observed when he rejected a request to prioritize general
causation in In re Testosterone Replacement Therapy Prod. Liab. Litig. (“TRT MDL”), such requests
unfairly ask the court “to make sort of a preliminary indication, [that] yes, this is kind of a weak case and
so I should do it this way.” Ex. D, TRT MDL, MDL No. 2545, Tr. Oct. 24, 2014 Hrg. at 43:15-22
(expressing “visceral discomfort” with prioritizing general causation).
        As set forth below, Defendants’ request to “prioritize” general causation will not produce any
efficiencies. This is not a case in which general causation evidence and issues can be readily isolated from
the rest of the case. Nor is it a case that cries out for early testing of causation given the multitude of
studies already cited in the Master Complaint and the considerable evidence already available that
Defendants knew and intended that their designs would drive more and more use—“engagement”—for
their platforms and were leading to “problematic use” and severe mental health problems for children.
Moreover, drawing an artificial line between an issue to be “prioritized” and other issues in the case will
generate disputes and obstruct and delay full disclosure as Defendants try to pick and choose what limited
discovery they deem relevant to general causation.
      Defendants’ request should be denied, and Plaintiffs should be permitted to continue with full,
complete, and timely discovery of the facts that Defendants have kept out of sight for so many years.
         2. Prioritizing General Causation Is Inefficient and Threatens MDL/JCCP Coordination
       Defendants’ proposal should be denied because “prioritizing” general causation will burden the
Court and the parties with discovery disputes and undermine coordination with the JCCP.
        Where, as here, “there is no neat line dividing information relevant to general causation and to
specific causation,” efforts to prioritize discovery will “undoubtedly lead[] to myriad disputes whether
certain information, search terms, interrogatories, or deposition questions are sufficiently relevant to one
[issue] and not the other.” Dean, 2020 WL 12032895, at *3. Indeed, the likelihood of “increased costs
based on an increased potential for discovery disputes” is a principal reason courts reject efforts to
structure discovery by issue. Gonzalez, 2007 WL 661914, at *1, *2 (“setting an earlier deadline, even on
one issue, will likely result in increased costs for all involved”); Metformin MDL, 2023 WL 2324769, at
*1 n.3 (D.N.J. Mar. 2, 2023) (discovery phasing “would overly complicate discovery and invite case
management problems, such as disputes concerning the appropriate scope of discovery for each stage”).
       The likelihood of disputes here is high. The whole premise of Defendants’ proposal to “prioritize”
general causation is that front-loading the issue allegedly would save costs if Defendants prevail on
Daubert motions. Even putting aside that this argument rests on wholly unsupported assumptions and


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 See also Gonzalez v. Texaco, Inc., 2007 WL 661914, at *1 (N.D. Cal. Feb. 28, 2007) (“phased discovery
would lead to increased costs based on an increased potential for discovery disputes”); In re Metformin
Mktg. & Sales Pract. Litig. (“Metformin MDL”), 2023 WL 2324769, at *1 & n.3 (D.N.J. Mar. 2, 2023)
(phasing “would overly complicate discovery and invite case management problems, such as disputes
concerning the appropriate scope of discovery for each stage”).
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speculation about fact and expert evidence yet to be developed, Defendants’ cost savings calculus makes
sense only if Defendants intend to aggressively limit what constitutes discovery relevant to general
causation. But, as explained below, this is not a case in which there is some limited set of evidence of
causation. Rather, evidence relevant to whether and how Defendants’ chosen designs impact user behavior
by increasing the frequency and duration of use and the social, emotional, and mental attachments to use
is reasonably expected to come from nearly all major divisions within Defendants’ businesses. This is
because, as laid out in detail in the Master Complaint, increasing “engagement” was and is a core business
goal driving virtually all design, investment, marketing, safety, compliance, and sales decisions and
functions at each of Defendants’ companies. It is this wholly expected and intended effect on user
engagement that, Plaintiffs contend and will prove at trial, leads to injurious addictive, compulsive, and
“problematic” use and the cascade of additional mental and physical injuries alleged in this MDL (e.g.,
depression, anxiety, body dysmorphia, eating disorders, suicide ideation). Plaintiffs’ choices about what
to explore in discovery and how to prove their case should not be constrained by any artificial division
between “prioritized” discovery on general causation and other “non-priority” issues.
        “Prioritizing” general causation also should be denied because it could complicate coordination
with the JCCP proceeding. When Judge Kuhl was informed of Defendants’ intent to ask this Court to
“prioritize” general causation issues, she was skeptical that general causation could be isolated. Ex. E (Tr.
12/7/23 JCCP Status Conf.) 39:6-16. As importantly, Judge Kuhl emphasized that the Court will not plan
“around trying to determine general causation.” Id. Judge Kuhl noted that the current plan to coordinate
JCCP and MDL discovery might need to be revisited “if discovery in federal court is not proceeding in
the way that [] deadlines [set in the JCCP] can be met.” Id. at 7:17-24. Thus, far from creating efficiencies,
“prioritizing” general causation in the MDL risks complicating coordination with the JCCP.
         3. General Causation Is Not Readily Isolated From Other Issues
        Based on a draft position statement provided to Plaintiffs in December, Defendants’ prioritization
proposal appears to rely on rulings in certain drug injury and/or toxic tort cases. As noted above, however,
multiple courts have rejected prioritization of general causation in such cases. And the claims here raise
very different issues that preclude isolating and prioritizing “general causation.”
       First, in a drug injury or toxic tort case, the alleged cause of the injury typically is a chemical
compound that exists and can be studied separate and apart from the defendant’s business. Fact and expert
discovery on whether the chemical is capable of causing a given injury can be targeted and discrete.4
        Here, Plaintiffs’ claims implicate multiple defects in the design of Defendants’ platforms, not the
biological effects of isolated compounds in Defendants’ product. Moreover, Plaintiffs allege the design
defects at issue were integral to each Defendants’ business objectives—namely, that each Defendant
intentionally included the challenged design features in their platforms in order to expand the number of
users and increase the length, frequency, and depth of use—and that they did so despite knowing that
increased use and “engagement” would predictably cause children to use the platforms addictively,
compulsively, or “problematic[ally].” E.g., Plaintiffs’ Second Amended Master Complaint (ECF No. 494)
(“MC”) ¶¶ 19, 323-26, 391A, 486, 558, 755-59. As such, much of the evidence about whether the design
defects are capable of causing the injuries alleged will come from Defendants’ own files and studies,

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  See, e.g., In re Meridia Prod. Liab. Litig. (“Meridia MDL”), 328 F. Supp. 2d 791, 798 (N.D. Ohio 2004).
Phasing of general causation has been permitted in such cases because it is necessary to determine whether
a specific contaminant or ingredient is capable of causing the injuries alleged and when a chemical’s effect
can be examined separate and apart from other issues in the case. See, e.g., In re Onglyza & Kombiglyze
XR Prod. Liab. Litig., 2022 WL 3050665, at *3 (E.D. Ky. Aug. 2, 2022).
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rather than from external medical and scientific literature. And the evidence at issue will not be limited to
science departments. Instead, it will include evidence from many different facets of Defendants’ business
explaining why each Defendant believed these designs would, as intended, help them drive more and more
“engagement.” What user engagement targets were Defendants’ design teams given, and why did
Defendants believe they were attainable? What cost-benefit analyses did Defendants use in choosing to
implement these designs, and what data did Defendants rely on to determine whether the designs were
increasing engagement as desired? What did Defendants tell their advertising customers about who their
audiences were and why a platform was effective in keeping youth “engaged”? An illusory division
between general causation and other liability issues risks allowing Defendants—rather than Plaintiffs—to
dictate how Plaintiffs will prove up their case and threatens to prejudice Plaintiffs if general causation is
tested without complete discovery of Defendants’ business decisions, practices, and data.
        Second, as Judge Kuhl observed, this is not “the type of case where general causation is going to
be able to be pulled apart from specific causation.” Ex. E at 39:6-16. As Judge Kuhl recognized, when
injuries involve behavioral science questions (e.g., psychology, sociology, and similar disciplines), there
is no useful distinction between general and specific causation. Id. (“we’re talking about mental illness
here and not a physical change in the body like mesothelioma or diabetes.”); see also Couture v. Bd. of
Educ. of Albuquerque Pub. Sch., 2007 WL 9734358, at *12 (D.N.M. Mar. 28, 2007) (distinguishing
admissibility of psychiatrist’s testimony as “soft science” from admissibility of general causation
testimony in pharmaceutical cases). Plaintiffs allege Defendants’ platforms cause addictive, compulsive,
and “problematic” use through the combined manipulation and exploitation of adolescents’ neurobiology,
psychology, and developmental social needs. E.g., MC ¶¶ 76-90. Thus, Plaintiffs’ claims are not limited
to a clinical diagnosis of addiction and the chain of causation includes both hard and social sciences—
e.g., what triggers dopamine releases and how social comparison impacts youth behavior. Thus, this case
is different from the drug injury and toxic tort cases where the division between general and specific
causation has developed to address the “unique” challenges in those cases5—and has been held
unnecessary outside of that limited context.6
       The inability to isolate the issue of general causation is yet another reason why this Court should
follow the tried-and-true process of using bellwether cases to test core issues, rather than artificially
examining one supposed element in the abstract, as Defendants urge.7
         4. Prioritizing General Causation Assumes an Unsupported Merits Conclusion
       As other courts have observed, a request to “prioritize” the issue of general causation effectively
asks the Court to assume the likelihood that the defendant will prevail on an eventual Daubert and/or


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  Meridia MDL, 328 F. Supp. 2d at 798 (two-step general and specific causation framework was developed
to address “unique challenge” toxic tort claims present to “classical conception of causation.”).
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  See, e.g., Burgess v. Codman & Shurtleff, Inc., 2016 WL 4570370, at *3 (E.D. Ten. Aug. 30, 2016)
(plaintiff not required to separately prove generic causation in product liability claim not involving toxic
tort); Holcombe v. U.S., 516 F. Supp. 3d 660, 678-79 (W.D. Tex. 2021) (two-step causation framework
inapplicable where causation could be shown through epidemiology, economics, sociology, and
psychology); accord Saccheti v. Gallaudet Univ., 344 F. Supp. 3d 233 at 249 n. 9 (D.D.C. Oct. 29, 2018)
(acknowledging plaintiff was not required to establish general causation outside of toxic tort context).
7
 A unified discovery plan may also facilitate settlement. See, e.g., In re Nat’l Prescription Opiate Litig.,
2019 WL 3843082, at *1 (N.D. Ohio Aug. 15, 2019) (recognizing bellwether process as essential for
“information gathering that would facilitate valuation of cases to assist in global settlement”).

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summary judgment motion. Otherwise, “prioritization” imposes all of the costs of attempts to structure
discovery (disputes, motions, and risks of prejudice) without any of the benefits of likely early resolution
of claims. Gonzalez, 2007 WL 661914, at *2; Ex. D (TRT MDL Tr.) at 43:23-44:14.
       Here, Defendants’ request for “prioritization” of general causation is premised on entirely self-
serving—and entirely untested—arguments about what the current literature says about the connection
between Defendants’ platforms and the mental health of the children who use them. We respectfully
submit that the Court should reject Defendants’ transparent effort to ask the Court to pre-judge the
evidence yet to be laid out under the bright lights of discovery—all before the pleadings are even settled.
        This is not a case in which Plaintiffs rely on conclusory allegations of causation. To the contrary,
the Master Complaint cites dozens of studies linking Defendants’ designs and platforms to the types of
injuries the MDL Plaintiffs claim. MC ¶¶ 96-124. Indeed, the nation’s leading public health officer—the
United States Surgeon General—has advised that “[c]hildren and adolescents who spend more than 3
hours a day on social media face double the risk of mental health problems including experiencing
symptoms of depression and anxiety. This is concerning as a recent survey showed that teenagers spend
an average of 3.5 hours a day on social media.” https://www.hhs.gov/surgeongeneral/priorities/youth-
mental-health/social-media/index.html. Moreover, much of what has driven this MDL, the JCCP, and the
years of investigations by Congress and the states—and now lawsuits by 44 states—are the revelations
from Defendants’ own files that they knew their platforms were harming kids through addiction,
compulsive use, and “problematic” use—all as a result of the choices Defendants made in how to design
and run their platforms. MC ¶¶ 19, 323-26, 331, 364-391A, 441-42, 486, 540, 755-59.
        In short, even without the benefit of discovery, there is ample evidence that Defendants’ platforms
are hurting kids because of the compulsive, addictive, and unhealthy “engagement” Defendants’ designs
induce by manipulating the still-developing brains and social skills of children. “Prioritizing” general
causation will be a fruitless exercise that, at best, will yield a battle of the experts for juries to resolve.
See, e.g., Apple iPod iTunes Antitrust Litig., 2014 WL 4809288, at *6, 10 (N.D. Cal. Sept. 26, 2014) (a
“battle of the [] experts” is not properly resolved on Daubert).8
         4. Conclusion
        For all of the above reasons, Plaintiffs request that the Court deny Defendants’ proposal to
“prioritize” discovery and resolution of general causation issues.
                                                             Respectfully submitted,
                                                             /s/ Christopher A. Seeger
                                                             Christopher A. Seeger




8
  Even if Plaintiffs were unable to proffer reliable evidence linking Defendants’ design defects to the
alleged injuries, Plaintiffs’ claims for violation of consumer protection laws (Count 7), fraudulent
concealment and misrepresentation (Count 8), negligent concealment and misrepresentation (Count 9),
and violations of 18 U.S.C. §§ 2255 and 2252 (Counts 12 & 14) would remain.
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